      Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 1 of 12




BARSHAY SANDERS, PLLC
100 Garden City Plaza, Suite 500
Garden City, New York 11530
Tel: (516) 203-7600
Fax: (516) 706-5055
Email: ConsumerRights@BarshaySanders.com
Attorneys for Plaintiff
Our File No.: 115822

                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK



Matthew Muldowney, individually and on behalf of all
others similarly situated,                                    Docket No: 5:19-CV-422[TJM/TWD]

                                       Plaintiff,             CLASS ACTION COMPLAINT

                             vs.
                                                              JURY TRIAL DEMANDED
American Coradius International, LLC,

                                       Defendant.


       Matthew Muldowney, individually and on behalf of all others similarly situated
(hereinafter referred to as “Plaintiff”), by and through the undersigned counsel, complains, states
and alleges against American Coradius International, LLC (hereinafter referred to as
“Defendant”), as follows:


                                       INTRODUCTION
       1.      This action seeks to recover for violations of the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”).


                                   JURISDICTION AND VENUE
       2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
and 15 U.S.C. § 1692k(d).




                                                1
        Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 2 of 12




          3.    Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
events or omissions giving rise to the claim occurred in this Judicial District.
          4.    At all relevant times, Defendant conducted business within the State of New
York.


                                             PARTIES
          5.    Plaintiff Matthew Muldowney is an individual who is a citizen of the State of
New York residing in Onondaga County, New York.
          6.    Plaintiff is a natural person allegedly obligated to pay a debt.
          7.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
          8.    On information and belief, Defendant American Coradius International, LLC, is a
New York Limited Liability Company with a principal place of business in Erie County, New
York.
          9.    Defendant regularly collects or attempts to collect debts asserted to be owed to
others.
          10.   Defendant is regularly engaged, for profit, in the collection of debts allegedly
owed by consumers.
          11.   The principal purpose of Defendant's business is the collection of such debts.
          12.   Defendant uses the mails in its debt collection business.
          13.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).


                                           THE FDCPA
          14.   Congress enacted the FDCPA upon finding that debt collection abuse by third
party debt collectors was a widespread and serious national problem. See S. Rep. No. 95-382, at
2 (1977), reprinted in U.S.C.C.A.N. 1695, 1696; 15 U.S.C § 1692(a).
          15.   The purpose of the FDCPA is to protect consumers from deceptive or harassing
actions taken by debt collectors, with the aim of limiting the suffering and anguish often inflicted
by independent debt collectors. Kropelnicki v. Siegel, 290 F.3d 118, 127 (2d Cir. 2002); Russell
v. Equifax A.R.S., 74 F.3d 30, 34 (2d Cir. 1996).
          16.   To further these ends, the FDCPA “establishes certain rights for consumers whose
debts are placed in the hands of professional debt collectors for collection.” Vincent v. The



                                                  2
      Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 3 of 12




Money Store, 736 F.3d 88, 96 (2d Cir. 2013).
       17.     In order for consumers to vindicate their rights under the statute, the FDCPA
“grants a private right of action to a consumer who receives a communication that violates the
Act.” Jacobson v. Healthcare Fin. Servs., Inc., 516 F.3d 85, 91 (2d Cir. 2008).
       18.     Thus, “the FDCPA enlists the efforts of sophisticated consumers ... as 'private
attorneys general' to aid their less sophisticated counterparts, who are unlikely themselves to
bring suit under the Act, but who are assumed by the Act to benefit from the deterrent effect of
civil actions brought by others.” Jacobson, 516 F.3d at 91.
       19.     To this end, in determining whether a collection letter violates the FDCPA, courts
in the Second Circuit utilize “the least sophisticated consumer” standard. Jacobson, 516 F.3d at
90. “The test is how the least sophisticated consumer—one not having the astuteness of a
'Philadelphia lawyer' or even the sophistication of the average, everyday, common consumer—
understands the notice he or she receives. Russell, 74 F.3d at 34.
       20.     The least sophisticated consumer standard pays no attention to the circumstances
of the particular debtor in question. See Easterling v. Collecto, Inc., 692 F.3d 229, 234 (2d Cir.
2012). Specifically, it is not necessary for a consumer to show that he or she was confused by
the   communication     received.       See   Jacobson,   516     F.3d    at   91.     Likewise,     the
consumer's    actions   in   response    to   a   collection   letter    are   not   determinative   of
the question of whether there has been a violation of the FDCPA. Thomas v. Am. Serv. Fin.
Corp., 966 F. Supp. 2d 82, 90 (E.D.N.Y. 2013).
       21.     Under the least sophisticated consumer standard, collection letters violate the
FDCPA “if they are open to more than one reasonable interpretation, at least one of which is
inaccurate.” Clomon v. Jackson, 988 F.2d 1314, 1319 (2d Cir. 1993).
       22.     Moreover, a debt collector violates the FDCPA if its collection letter is
“reasonably susceptible to an inaccurate reading” by the least sophisticated consumer. DeSantis
v. Computer Credit, Inc., 269 F.3d 159, 161 (2d Cir. 2001).
       23.     Similarly, a collection letter violates the FDCPA “if it would make the least
sophisticated consumer uncertain as to her rights.” Jacobson, 516 F.3d at 90.
       24.     To recover damages under the FDCPA, a consumer does not need to show
intentional conduct on the part of the debt collector. Ellis v. Solomon & Solomon, P.C., 591 F.3d
130, 135 (2d Cir. 2010). Rather, “[t]he FDCPA is a strict liability statute, and the degree of a



                                                  3
       Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 4 of 12




defendant's culpability may only be considered in computing damages.” Bentley v. Great Lakes
Collection Bureau, 6 F.3d 60, 63 (2d Cir. 1993). A single violation of the FDCPA to establish
civil liability against the debt collector. Id.


                                           ALLEGATIONS
        25.     Defendant alleges Plaintiff owes a debt (“the alleged Debt”).
        26.     The alleged Debt is an alleged obligation of Plaintiff to pay money arising out of
a transaction in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes.
        27.     The alleged Debt does not arise from any business enterprise of Plaintiff.
        28.     The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).
        29.     At an exact time known only to Defendant, the alleged Debt was assigned or
otherwise transferred to Defendant for collection.
        30.     At the time the alleged Debt was assigned or otherwise transferred to Defendant
for collection, the alleged Debt was in default.
        31.     In its efforts to collect the alleged Debt, Defendant contacted Plaintiff by letter
(“the Letter”) dated April 17, 2018. (A true and accurate copy is annexed hereto as “Exhibit 1.”)
        32.     The Letter conveyed information regarding the alleged Debt.
        33.     The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
        34.     The Letter was the initial written communication Plaintiff received from
Defendant concerning the alleged Debt.

                                         FIRST COUNT
                    Violations of 15 U.S.C. §§ 1692g(b), 1692e and 1692e(10)
        35.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
        36.     15 U.S.C. § 1692g provides that within five days after the initial communication
with a consumer in connection with the collection of any debt, a debt collector shall, unless the
information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing certain enumerated information.
        37.     15 U.S.C. § 1692g(a)(1) provides that the written notice must contain the amount
of the debt.




                                                   4
      Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 5 of 12




       38.     15 U.S.C. § 1692g(a)(2) provides that the written notice must contain the name of
the creditor to whom the debt is owed.
       39.     15 U.S.C. § 1692g(a)(3) provides that the written notice must contain a statement
that unless the consumer, within thirty days after receipt of the notice, disputes the validity of the
debt, or any portion thereof, the debt will be assumed to be valid by the debt collector.
       40.     15 U.S.C. § 1692g(a)(4) provides that the written notice must contain a statement
that if the consumer notifies the debt collector in writing within the thirty-day period that the
debt, or any portion thereof, is disputed, the debt collector will obtain verification of the debt or a
copy of a judgment against the consumer and a copy of such verification or judgment will be
mailed to the consumer by the debt collector
       41.     15 U.S.C. § 1692g(a)(5) provides that the written notice must contain a statement
that, upon the consumer's written request within the thirty-day period, the debt collector will
provide the consumer with the name and address of the original creditor, if different from the
current creditor.
       42.     A debt collector has the obligation, not just to convey the required information,
but also to convey such clearly.
       43.     Even if a debt collector conveys the required information accurately, the debt
collector nonetheless violates the FDCPA if that information is overshadowed or contradicted by
other language in the communication.
       44.     Even if a debt collector conveys the required information accurately, the debt
collector nonetheless violates the FDCPA if that information is overshadowed by other collection
activities during the 30-day validation period following the communication.
       45.     15 U.S.C. § 1692g(b) provides that collection activities and communication
during the 30-day period may not overshadow or be inconsistent with the disclosure of the
consumer's right to dispute the debt or request the name and address of the original creditor.
       46.     A collection activity or communication overshadows or contradicts the validation
notice if it would make the least sophisticated consumer uncertain or confused as to her rights.
       47.     The Letter sets forth, “NOTICE: PLEASE SEE SECOND PAGE FOR
IMPORTANT INFORMATION” in bold typeface.
       48.     The Letter sets forth, “NOTICE: PLEASE SEE SECOND PAGE FOR
IMPORTANT INFORMATION” in larger type-face than the rest of the writing on the Letter.



                                                  5
          Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 6 of 12




          49.    The Letter sets forth, “NOTICE: PLEASE SEE SECOND PAGE FOR
IMPORTANT INFORMATION” in an emphasized manner.
          50.    However, the second page of the Letter does not include Plaintiff’s Section 1692g
rights.
          51.    Instead, Defendant placed the required validation notice in the body of the Letter,
in the same font, font size, and typeface as the rest of body.
          52.    The Letter sets forth the required validation notice in a deemphasized manner.
          53.    The Letter sets forth the required validation notice in a deemphasized manner
especially in relation to the “NOTICE: PLEASE SEE SECOND PAGE FOR IMPORTANT
INFORMATION.”
          54.    The required validation notice, relative to other language in the Letter, is visually
inconspicuous.
          55.    The required validation notice cannot be readily discerned from the rest of the
language in the Letter.
          56.    The Letter contains no visually conspicuous transitionary language, such as “See
Important Notice Below,” directing Plaintiff's attention to the required validation notice.
          57.    The Letter does not otherwise direct the consumer's attention to the required
validation notice in any way.
          58.    Rather, the Letter directs the consumer’s attention to “NOTICE: PLEASE SEE
SECOND PAGE FOR IMPORTANT INFORMATION.”
          59.    The manner in which the Letter is formatted would likely make the least
sophisticated consumer uncertain as to her rights.
          60.    The manner in which the Letter is formatted would likely make the least
sophisticated consumer confused as to her rights.
          61.    The manner in which the Letter is formatted would likely make the least
sophisticated consumer overlook her rights.
          62.    The letter is structured in such a way that it makes Plaintiff's validation rights
difficult to read and easy to overlook.
          63.    The letter is structured in such a way that it makes Plaintiff's validation rights
appear as boilerplate language.




                                                   6
        Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 7 of 12




        64.     The letter is structured in such a way that it makes Plaintiff's validation rights
appear unimportant.
        65.     The letter is structured in such a way that it discourages Plaintiff from reading her
validation rights.
        66.     As a result of the foregoing, the Letter would likely discourage the least
sophisticated consumer from exercising her right to dispute the alleged Debt.
        67.     As a result of the foregoing, the Letter would likely discourage the least
sophisticated consumer from exercising her right to request validation of the alleged Debt.
        68.     Defendant violated 15 U.S.C. § 1692g(b) as the format and structure of the Letter
overshadows the disclosure of the consumer's right to dispute the alleged Debt.
        69.     Defendant violated 15 U.S.C. § 1692g(b) as the format and structure of the Letter
overshadows the disclosure of the consumer's right to request validation of the alleged Debt.
        70.     Defendant violated 15 U.S.C. § 1692g(b) as the format and structure of the Letter
overshadows the disclosure of the consumer's right to request the name and address of the
original creditor.
        71.     Defendant violated 15 U.S.C. § 1692g(b) as the format and structure of the Letter
is inconsistent with the disclosure of the consumer's right to dispute the alleged Debt.
        72.     Defendant violated 15 U.S.C. § 1692g(b) as the format and structure of the Letter
is inconsistent with the disclosure of the consumer's right to request validation of the alleged
Debt.
        73.     Defendant violated 15 U.S.C. § 1692g(b) as the format and structure of the Letter
is inconsistent with the disclosure of the consumer's right to request the name and address of the
original creditor.
        74.     15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
misleading representation or means in connection with the collection of any debt.
        75.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.
        76.     A debt collection practice can be a “false, deceptive, or misleading” practice in
violation of 15 U.S.C. § 1692e even if it does not fall within any of the subsections of 15 U.S.C.
§ 1692e. Clomon, 988 F.2d at 1318.




                                                   7
      Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 8 of 12




       77.     A collection letter violates 15 U.S.C. § 1692e if, in the eyes of the least
sophisticated consumer, it is open to more than one reasonable interpretation, at least one of
which is inaccurate. Clomon, 988 F.2d at 1319.
       78.     A     collection    letter   also       violates   15   U.S.C.   §   1692e     if   it
is reasonably susceptible to an inaccurate reading by the least sophisticated consumer. DeSantis,
269 F.3d at 161.
       79.     Because the Letter is open to more than one reasonable interpretation it violates
15 U.S.C. § 1692e.
       80.     Because the Letter is reasonably susceptible to an inaccurate reading by the least
sophisticated consumer it violates 15 U.S.C. § 1692e.
       81.     For the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692g(b), 1692e and
1692e(10) and is liable to Plaintiff therefor.


                                       SECOND COUNT
                                  Violation of 15 U.S.C. § 1692g
                                       Validation of Debts

       82.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
       83.     15 U.S.C. § 1692g provides that within five days after the initial communication
with a consumer in connection with the collection of any debt, a debt collector shall, unless the
information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing certain enumerated information.
       84.     One such requirement is that the debt collector provide “the name of the creditor
to whom the debt is owed.” 15 U.S.C. § 1692g(a)(2).
       85.     A debt collector has the obligation not just to convey the name of the creditor to
whom the debt is owed, but also to convey such clearly.
       86.     A debt collector has the obligation not just to convey the name of the creditor to
whom the debt is owed, but also to state such explicitly.
       87.     Merely naming the creditor without specifically identifying the entity as the
current creditor to whom the debt is owed is not sufficient to comply with 15 U.S.C. §
1692g(a)(2).
       88.      Even if a debt collector conveys the required information, the debt collector



                                                   8
        Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 9 of 12




nonetheless violates the FDCPA if it conveys that information in a confusing or contradictory
fashion so as to cloud the required message with uncertainty.
        89.    When determining whether the name of the creditor to whom the debt is owed has
been conveyed clearly, an objective standard, measured by how the “least sophisticated
consumer” would interpret the notice, is applied.
        90.    The Letter fails to identify by name and label any entity as “current creditor,”
“account owner,” or “creditor to whom the debt is owed.”
        91.    Instead, the Letter sets forth three disparate entities: “Comenity Capital Bank”;
“Pay Pal Credit”; and “Bill Me Later, Inc.”
        92.    The Letter states, “This account has been placed with our office for collection.”
        93.    The Letter fails to indicate who placed the account with Defendant.
        94.    The Letter fails to indicate who Defendant represents.
        95.    The Letter fails to indicate who is Defendant's client.
        96.    The Letter demands payment be made to Defendant.
        97.    The least sophisticated consumer would likely be confused as to whether the
creditor to whom the debt is owed is “Comenity Capital Bank,” “Pay Pal Credit,” “Bill Me Later,
Inc.,” or Defendant.
        98.    The least sophisticated consumer would likely be uncertain as to whether the
creditor to whom the debt is owed is “Comenity Capital Bank,” “Pay Pal Credit,” “Bill Me Later,
Inc.,” or Defendant.
        99.    Defendant failed to explicitly state the name of the creditor to whom the debt is
owed.
        100.   Defendant failed to clearly state the name of the creditor to whom the debt is
owed.
        101.   The least sophisticated consumer would likely be confused as to the name of the
creditor to whom the debt is owed.
        102.   The least sophisticated consumer would likely be uncertain as to the name of the
creditor to whom the debt is owed.
        103.   Defendant violated § 1692g as it failed to clearly and explicitly convey the name
of the creditor to whom the debt is owed.




                                                 9
      Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 10 of 12




                                        THIRD COUNT
                                 Violation of 15 U.S.C. § 1692e
                     False or Misleading Representations as to the Name of
                            the Creditor to Whom the Debt is Owed

        104.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
        105.    15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
misleading representation or means in connection with the collection of any debt.
        106.    While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
and does not preclude a claim of falsity or deception based on any non-enumerated practice.
        107.    The question of whether a collection letter is deceptive is determined from the
perspective of the “least sophisticated consumer.”
        108.    A collection letter is deceptive under 15 U.S.C. § 1692e if it can reasonably be
read by the least sophisticated consumer to have two or more meanings, one of which is
inaccurate.
        109.    A collection letter is also deceptive under 15 U.S.C. § 1692e if it is reasonably
susceptible to an inaccurate reading by the least sophisticated consumer.
        110.    For purposes of 15 U.S.C. § 1692e, the failure to clearly and accurately identify
the creditor to whom the debt is owed is unfair and deceptive to the least sophisticated consumer.
        111.    The identity of creditor to whom the debt is owed is a material piece of
information to a consumer.
        112.    Knowing the identity of creditor to whom the debt is owed affects how a
consumer responds to a debt collector's attempts to collect the debt.
        113.    Because the Letter can reasonably be read by the least sophisticated consumer to
have two or more meanings, one of which is inaccurate, as described, it is deceptive within the
meaning of 15 U.S.C. § 1692e.
        114.    Because the Letter is reasonably susceptible to an inaccurate reading by the least
sophisticated consumer, as described, it is deceptive within the meaning of 15 U.S.C. § 1692e.
        115.    The least sophisticated consumer would likely be deceived by the Letter.
        116.    The least sophisticated consumer would likely be deceived in a material way by
the Letter.
        117.    Defendant violated § 1692e by using a false, deceptive and misleading
representation in its attempt to collect a debt.


                                                   10
      Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 11 of 12




                                      CLASS ALLEGATIONS
        118.    Plaintiff brings this action individually and as a class action on behalf of all
persons similarly situated in the State of New York.
        119.    Plaintiff seeks to certify a class of:
                     i. All consumers to whom Defendant sent a collection letter
                     substantially and materially similar to the letter sent to Plaintiff,
                     which letter was sent on or after a date one year prior to the filing of
                     this action to the present.

        120.    This action seeks a finding that Defendant's conduct violates the FDCPA, and
asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
        121.    The Class consists of more than thirty-five persons.
        122.    Plaintiff's claims are typical of the claims of the Class. Common questions of law
or fact raised by this action affect all members of the Class and predominate over any individual
issues. Common relief is therefore sought on behalf of all members of the Class. A class action
is superior to other available methods for the fair and efficient adjudication of this controversy.
        123.    The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications with respect to the individual members of the
Class, and a risk that any adjudications with respect to individual members of the Class would, as
a practical matter, either be dispositive of the interests of other members of the Class not party to
the adjudication, or substantially impair or impede their ability to protect their interests.
Defendant has acted in a manner applicable to the Class as a whole such that declaratory relief is
warranted.
        124.    Plaintiff will fairly and adequately protect and represent the interests of the Class.
The management of the class is not extraordinarily difficult, and the factual and legal issues
raised by this action will not require extended contact with the members of the Class, because
Defendant's conduct was perpetrated on all members of the Class and will be established by
common proof. Moreover, Plaintiff has retained counsel experienced in actions brought under
consumer protection laws.


                                          JURY DEMAND
        125.    Plaintiff hereby demands a trial of this action by jury.




                                                   11
     Case 5:19-cv-00422-TJM-TWD Document 1 Filed 04/08/19 Page 12 of 12




                                 PRAYER FOR RELIEF
      WHEREFORE, Plaintiff respectfully requests judgment be entered:
                a. Certifying this action as a class action; and

                b. Appointing Plaintiff as Class Representative and Plaintiff's attorneys as
                Class Counsel;

                c. Finding Defendant's actions violate the FDCPA; and

                d. Granting damages against Defendant pursuant to 15 U.S.C. § 1692k; and

                e. Granting Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                f. Granting Plaintiff's costs; all together with

                g. Such other relief that the Court determines is just and proper.

DATED: April 8, 2019
                                           BARSHAY SANDERS, PLLC

                                           By: _/s/ Craig B. Sanders
                                           Craig B. Sanders, Esquire
                                           100 Garden City Plaza, Suite 500
                                           Garden City, New York 11530
                                           Tel: (516) 203-7600
                                           Fax: (516) 706-5055
                                           csanders@barshaysanders.com
                                           Attorneys for Plaintiff
                                           Our File No.: 115822




                                             12
